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 7

 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10

11   DENNIS MORRIS                               Case No. CV12-0684 JAK (RZx)
12                                               Complaint Filed: January 26, 2012
                 Plaintiff,                      Honorable John A. Kronstadt
13

14               v.                              PLAINTIFF’S MOTION FOR
                                                 SUMMARY ADJUDICATION RE
15 THIERRY GUETTA; ITS A                         COPYRIGHT INFRINGEMENT AS
16 WONDERFUL WORLD, INC., and                    TO ALL DEFENDANTS; POINTS
   DOES 1 though 10, inclusive,                  AND AUTHORITIES
17

18               Defendants.                     Date: October 22, 2012
                                                 Time: 8:30 a.m.
19                                               Place: Courtroom 750
20

21

22   TO THE HONORABLE COURT, ALL PARTIES, AND THEIR RESPECTIVE

23   ATTORNEYS OF RECORD:

24

25         PLEASE TAKE NOTICE that on October 22, 2012 in Courtroom 750 of the

26   Roybal Courthouse, located at 255 E. Temple Street, Los Angeles, California 90012,

27   Plaintiff, Dennis Morris will move the court pursuant to Federal Rule of Civil

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 1   Procedure 56 for summary adjudication that Defendants, and each of them, have
 2   engaged in acts of copyright infringement.
 3         The motion will be made on the grounds that Plaintiff is entitled to summary
 4   adjudication of liability for copyright infringement as a matter of law because, after
 5   considering all evidence in the light most favorable to Defendants, no reasonable fact-
 6   finder could deny that Plaintiff owns the copyrights in at issue in this case and that
 7   Defendants have engaged in unauthorized conduct that infringes Plaintiff’s exclusive
 8   rights under the copyright.
 9         The motion will be based on the attached Memorandum of Points and
10   Authorities, the Statement of Uncontroverted Facts, and the Declarations of Dennis
11   Morris and Douglas Linde filed with this motion, the papers and evidence on file in
12   this case, and such further evidence and argument as may be presented at the hearing.
13

14   Dated: September 24, 2012             THE LINDE LAW FIRM
15

16                                          By: /s/ Douglas A. Linde
                                            Douglas A. Linde
17                                          Erica L. Allen
18                                          Attorneys for Plaintiff,
                                            DENNIS MORRIS
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          This is a straight-forward case of copyright infringement involving Defendants’
 4   unauthorized creation and sale of artwork using Plaintiff’s copyrighted photograph.
 5          Plaintiff Dennis Morris is a famous photographer noted for iconic and world
 6   renowned photographs including several of the musical artists the Sex Pistols and Bob
 7   Marley (http://en.wikipedia.org/wiki/Dennis_morris).            Plaintiff took several iconic
 8   photographs of the musical artist known as Sid Vicious, a popular member of the
 9   musical act the Sex Pistols.
10          Defendant, Thierry Guetta (“Guetta”) is an artist working under the moniker
11   “Mr. Brainwash” whose “style” of artwork often involves taking and using, without
12   authorization, photographs authored by others as the basis of his artwork
13   (http://en.wikipedia.org/wiki/Mr._Brainwash). Notably, Defendant has already been
14   found to be a copyright infringer by another Court in this District. Friedman v.
15   Guetta, 2011 U.S. Dist. LEXIS 66532 (C.D. Cal. May 27, 2011).
16          Defendant, Its a Wonderful World, Inc., is a corporation organized under the
17   laws of the State of California. Guetta is the president of Its a Wonderful World, Inc.
18   Its a Wonderful World, Inc. sells artwork created by Guetta on his behalf. Both
19   Defendants will be referred to hereinafter as “Guetta.”
20          Defendant Guetta created and sold a number1 of pieces of art containing copies
21   of Morris’s copyrighted photograph of Sid Vicious without authorization.
22          There is no question that Guetta’s artwork contains unauthorized copies of
23   Plaintiff’s photograph.       Indeed, the evidence demonstrates that Guetta simply
24   downloaded digital images of Plaintiff’s photograph of Sid Vicious, reproduced the
25
     1
26     Defendants’ Motion For Summary Judgment, filed September 24, 2012, curiously states that there
     are only three (3) infringing works created by Defendants at issue. See Docket No. 47, Motion for
27   Summary Judgment, p.7:10-11. This is plainly incorrect, as Defendants themselves admit to selling
     five (5) separate works, and Defendants created two (2) additional works that were not sold.
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 1   image on a background material, and sold the artwork. Moreover, it is undisputed that
 2   Guetta did not have Plaintiff’s permission to use his photographs in any of
 3   Defendant’s works.
 4         As such, Plaintiff seeks summary adjudication of his copyright infringement
 5   claims only, leaving the amount of damages for such infringement at issue for trial.
 6

 7   II.   STATEMENT OF FACTS
 8         The following facts established in the pleadings and discovery show Plaintiff’s
 9   copyright ownership and Defendants’ infringement.
10

11         A.    PARTIES
12         The parties are: Plaintiff, Dennis Morris, a photographer, and Defendants
13   Thierry Guetta and Its a Wonderful World, Inc. (“Guetta”). The Defendants are all
14   engaged in creating and/or selling artwork.
15

16         B.    SUBJECT PHOTOGRAPH
17         Dennis Morris took the following photograph of Sid Vicious (the “Subject
18   Photograph”) (Decl. Morris ¶¶ 1, 2, 3) (Uncontroverted Facts No. 1):
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 1         C.    DEFENDANTS’ ACCESS
 2         Defendants admit, in their Answer and in discovery, that they had access to the
 3   Subject Photograph.    See Exhibit 1, Defendants’ Answer, ¶14 [Docket No. 11];
 4   Exhibit 2, Defendant Guetta’s Response To Request For Admission 6, 7, 9; Exhibit 3,
 5   Defendant IAWW’s Response To Request For Admission 6, 7, 9.                 Specifically,
 6   Defendant Thierry Guetta obtained a copy of the Subject Photograph from the
 7   internet. See Exhibit 4, Defendants Responses To Interrogatories, No. 8.
 8

 9         D.    INFRINGING ARTWORK
10         Guetta produced at least seven (7) works containing copies of the Subject
11   Photograph: (Uncontroverted Facts No. 5 through 11). These works are itemized as
12   follows:
13                            “Sid Vicious Multi-Color” in Pastels
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23         Notably, this work contains a reproduction of Plaintiff’s image, which
24   Defendant painted on to create the final work. Defendants created this work based
25   upon Plaintiff’s image. See Exhibit 4, Defendants Responses to Interrogatories, Set
26   One, Interrogatory No. 1.   Defendant sold this work on April 27, 2009. See Exhibit
27   4, Defendants Responses to Interrogatories, Set One, Interrogatory No. 2.
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 1                          “Sid Vicious Multi-Color” in Primary Colors
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12         Notably, this work contains a reproduction of Plaintiff’s image, which
13   Defendant painted on to create the final work. Defendants created this work based
14   upon Plaintiff’s image. See Exhibit 4, Defendants Responses to Interrogatories, Set
15   One, Interrogatory No. 1.   Defendant sold this work on June 6, 2010. See Exhibit 4,
16   Defendants Responses to Interrogatories, Set One, Interrogatory No. 2; Complaint and
17   Answer, ¶17.
18                                      “Sid Vicious Fabric”
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 1         This work features a “stencil” of Plaintiff’s image. Defendants created this
 2   work based upon Plaintiff’s image.        See Exhibit 4, Defendants Responses to
 3   Interrogatories, Set One, Interrogatory No. 1.   Defendant sold a “Sid Vicious Fabric”
 4   on July 16, 2008. See Exhibit 4, Defendants Responses to Interrogatories, Set One,
 5   Interrogatory No. 2.
 6                                     “Sid Vicious Palm Trees”
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16         This work contains a reproduction of Plaintiff’s image, to which Defendant
17   added sunglasses and illustrations. Defendants admit creating this work, but claim
18   they did not sell any “Sid Vicious Palm Trees” works. See Exhibit 4, Defendants
19   Responses to Interrogatories, Set One, Interrogatory No. 1 and 2.
20   ///
21   ///
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 1                                      “Sid Vicious” Print
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11            This work features a “stencil” of Plaintiff’s image. Defendants created this
12   work based upon Plaintiff’s image.         See Exhibit 4, Defendants Responses to
13   Interrogatories, Set One, Interrogatory No. 1.    Defendant sold forty-two (42) prints
14   of “Sid Vicious” in a two (2) day period between March 27, 2009 and March 29,
15   2009. See Exhibit 4, Defendants Responses to Interrogatories, Set One, Interrogatory
16   No. 2.
17                                 Sid Vicious Broken Records Work
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26            This work features a “stencil” of Plaintiff’s image made from broken records.
27   Defendant admits to creating this work, but claims that it was never sold.        See
                            PLAINTIFF’S MOTION FOR SUMMARY ADJUDICATION
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 1   Declaration of Thierry Guetta, Docket No. 47-2, ¶3. However, it is undisputed that
 2   this work was displayed publicly by Defendant. The above photo is from the Village
 3   Voice, and Defendant displayed this work, at least, at an exhibition of his work in
 4   New York in 2010. See Exhibit 5.
 5                                              Mural
 6          Additionally, Defendant created a Mural based upon Plaintiff’s Subject
 7   Photograph:
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17          Plaintiff did not authorize the use of his photograph in any of these works.
18   (Uncontroverted Facts No. 2)
19

20   III.   LEGAL ANALYSIS
21          This motion seeks summary adjudication that the Subject Photograph is an
22   original work of authorship owned by Plaintiff; and that Defendants infringed
23   Plaintiff’s copyright by reproducing, selling and publicly distributed artwork
24   containing copies of Plaintiff’s Subject Photograph without authorization.
25          A.     APPLICABLE LEGAL STANDARD
26          To succeed on a claim for copyright infringement, a plaintiff must show “(1)
27   ownership of a valid copyright, and (2) copying of constituent elements of the work
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 1   that are original.” Feist Publications, Inc., v. Rural Telephone Service Company, Inc.,
 2   499 U.S. 340, 361, 111 S. Ct. 1282, 113 L. Ed. 2d 358 (1991); Three Boys Music
 3   Corp. v. Bolton, 212 F.3d 477, 481 (9th Cir. 2000), cert. denied, 531 U.S. 1126, 121
 4   S. Ct. 881, 148 L. Ed. 2d 790 (2001).
 5          Valid Copyright2: “Copyright protection subsists … in original works of
 6   authorship fixed in any tangible medium of expression.” 17 U.S.C. § 102(a). “Works
 7   of authorship” include “pictorial, graphical and sculptural works,” 17 U.S.C. §
 8   102(a)(5), which cover “photographs.” 17 U.S.C. § 101. As Ets-Hokin v. Skyy
 9   Spirits, Inc. held in upholding the copyright in a photograph of a bottle of vodka:
10   “‘[A]lmost any photograph may claim the necessary originality to support a copyright
11   merely by virtue of the photographers’ [sic] personal choice of subject matter, angle
12   of photograph, lighting, and determination of the precise time when the photograph is
13   to be taken.’ … This circuit is among the majority of courts to have adopted this
14   view[, that] creative decisions involved in producing a photograph may render it
15   sufficiently original to be copyrightable, [including] selection of subject, posture,
16   background, lighting, and perhaps even perspective alone.” Ets-Hokin v. Skyy Spirits,
17   Inc., 225 F.3d 1068, 1076-1077 (9th Cir. 2000) (citations omitted).
18          Copying: The owner of a copyright in a photograph has the exclusive right to
19   do and authorize its: (i) reproduction; (ii) adaptation; (iii) public distribution; and (iv)
20   public display. 17 U.S.C. § 106. “Copying” is shorthand for infringing any of these
21   rights. S.O.S., Inc. v. Payday, Inc., 886 F.2d 1081, 1085 fn. 3 (9th Cir. 1989).
22          A plaintiff may show copying by “indirect” or “direct” means. The “indirect”
23

24          2
                The requirement of a valid copyright is different from the requirement of a valid copyright
25   registration. In this case Plaintiff does not need to demonstrate ownership of a copyright
     registration. Plaintiff is a citizen of the United Kingdom and first published the Subject Photograph
26   in the United Kingdom. See Declaration of Dennis Morris, ¶ 5. Therefore, it is uncontroverted that
     the Subject Photograph is not a United States work, and does not require pre-registration pursuant to
27   17 U.S.C. § 411.

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 1   approach is the usual one. “Because direct evidence of copying is not available in
 2   most cases, plaintiff may establish copying by showing that defendant had access to
 3   plaintiff’s work and that the two works are ‘substantially similar’ in idea and in
 4   expression of the idea.” Smith v. Jackson, 84 F.3d 1213, 1218 (9th Cir. 1996); see
 5   also Friedman v. Guetta, supra, 2011 U.S. Dist. LEXIS 66532 * 11-12. To establish
 6   access, the Ninth Circuit uses an “inverse ratio rule” which requires “a lower standard
 7   of proof of substantial similarity when a high degree of access is shown” and,
 8   conversely, “in the absence of any proof of access, a copyright plaintiff can still make
 9   out a case of infringement by showing that the [works are] ‘strikingly similar.’”
10   Three Boys Music, supra, 212 F.3d at 485; Baxter v. MCA, Inc., 812 F.2d 421, 423
11   (9th Cir. 1987).          For substantially similarity the Ninth Circuit uses an
12   extrinsic/intrinsic test. “The ‘extrinsic’ test considers whether two works share a
13   similarity of ideas and expression based on external, objective criteria [Citations] …
14   [and] the subjective ‘intrinsic test’ asks whether an ‘ordinary, reasonable observer’
15   would find a substantial similarity of expression of the shared idea.” Smith, supra, 84
16   F.3d at 1218. The extrinsic test “is generally a question of law because it turns not on
17   the responses of the trier of fact but on specific criteria which can be listed and
18   analyzed.” North Coast Industries v. Maxwell, 972 F.2d 1031, 1034 (9th Cir. 1992).
19   Although the intrinsic test evaluates total “look and feel,” courts grant summary
20   judgment where no reasonable jury could decide otherwise under the intrinsic test.
21   Berkic v. Crichton, 761 F.2d 1289 (9th Cir. 1985); Litchfield v. Spielberg, 736 F.2d
22   1352 (9th Cir. 1984).
23         Alternatively, a plaintiff may also show direct copying rather than access and
24   substantial similarity.    As Range Road Music, Inc. v. East Coast Foods, Inc.
25   explained:
26
           ‘Substantial similarity’ is not an element of a claim of copyright
27         infringement. Rather, it is a doctrine that helps courts adjudicate whether
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 1             copying of the ‘constituent elements of the work that are original’ actually
               occurred when an allegedly infringing work appropriates elements of an
 2             original without reproducing it in toto. A showing of ‘substantial similarity’
 3             is irrelevant in a case like this one [which] entailed direct copying of
               copyrighted works.
 4

 5   Range Road Music, Inc. v. East Coast Foods, Inc., 668 F.3d 1148, 1154 (9th Cir.
 6   2012) (citations omitted); accord Norse v. Henry Holt & Co., 991 F.2d 563, 566 (9th
 7   Cir. 1993) (“But here the substantial similarity analysis is inapposite to the copying
 8   issue because appellees admit that they in fact copied phrases from Norse’s letters.”);
 9   Friedman v. Guetta, supra, 2011 U.S. Dist. LEXIS 66532 * 11-12. In cases of direct
10   copying, the fact that the final result of defendant’s work differs from plaintiff’s work
11   is not exonerating. To the contrary, it can show infringement of multiple exclusive
12   rights.        Making a direct copy, such as by downloading a protected work into a
13   computer program infringes the exclusive reproduction right. 17 U.S.C. § 106(1);
14   MAI Systems Corp. v. Peak Computer, Inc., 991 F.2d 511, 519 (9th Cir. 1993) cert.
15   dismissed 510 U.S. 1033, 114 S. Ct. 671, 126 L. Ed. 2d 640 (1994); Idearc Media
16   Corp. v. Northwest Directories, Inc., 623 F. Supp. 2d 1223, 1233 (D. Or. 2008)
17   (unauthorized scanning of ads into program an infringement); Friedman v. Guetta,
18   supra, 2011 U.S. Dist. LEXIS 66532 * 11-12. Altering the unauthorized copy would
19   then infringe the exclusive right to create derivative works. 17 U.S.C. § 106(2);
20   Jarvis v. K2 Inc., 486 F.3d 526, 532 (9th Cir. 2007) (scanning and altering photos);
21   Micro Star v. Formgen Inc., 154 F.3d 1107 (9th Cir. 1998) (computer game).
22             As will be seen, the evidence is undisputed on all of the factors necessary to
23   show copyright infringement in this case.
24

25             B.      PLAINTIFF OWNS A VALID COPYRIGHT IN THE SUBJECT PHOTOGRAPH
26             There is uncontroverted evidence of Plaintiff’s ownership of valid and
27   subsisting copyright in the Subject Photograph. In his Declaration, Dennis Morris
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 1   states the following uncontroverted facts:
 2         Authorship: Dennis Morris is the person who took the Subject Photograph and
 3   is the sole and original author of each one. See Declaration of Dennis Morris ¶ 1-3
 4         Originality: The Subject Photograph is original with Dennis Morris. He is the
 5   person responsible for selection of subject, posture, background, lighting in each the
 6   photograph. See Declaration of Dennis Morris ¶ 2.
 7         As such, there uncontroverted evidence of Plaintiff’s ownership of a valid and
 8   subsisting copyright in the Subject Photograph.
 9

10         C.     DEFENDANTS HAVE ENGAGED IN COPYRIGHT INFRINGEMENT
11         The claim of copyright infringement against Defendants involves unauthorized
12   reproduction and distribution of copies of the Subject Photograph in the works
13   described above. The first step is to show they contain unauthorized copies of the
14   Subject Photograph. This is done both by indirect and direct evidence.
15

16   1.    Access and Legally Sufficient Similarity Show Unauthorized Copying
17         To show unauthorized copying by indirect evidence, a plaintiff must show both
18   access and legally sufficient similarity.      Undisputed evidence establishes both
19   requirements.
20                      a.       Defendants Had Access to The Subject Photograph
21         Defendant Guetta has admitted to having access to the Subject Photograph prior
22   to creating the artwork. See Exhibit 1, Defendants’ Answer, ¶14 [Docket No. 11];
23   Exhibit 2, Defendant Guetta’s Response To Request For Admission 6, 7, 9; Exhibit 3,
24   Defendant IAWW’s Response To Request For Admission 6, 7, 9; See Exhibit 4,
25   Defendants Responses To Interrogatories, No. 8.
26

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 1                           b.       Defendants Copied The Subject Photograph
 2           Plaintiff can show copying in two ways. First, by showing that the Defendants’
 3   work is substantially similar to Plaintiffs’ Subject Photograph, and by demonstrating
 4   that Defendants directly copied Plaintiff’s photograph. Each is addressed in turn.
 5

 6           1. Defendants’ Works Are Substantially Similar To The Subject Photograph
 7           To address “substantially similarity” the Ninth Circuit uses an extrinsic/intrinsic
 8   test.
 9           “The ‘extrinsic’ test considers whether two works share a similarity of ideas
10   and expression based on external, objective criteria. [Citations]… If plaintiff satisfies
11   the extrinsic test, then the subjective ‘intrinsic test’ asks whether an ‘ordinary,
12   reasonable observer’ would find a substantial similarity of expression of the shared
13   idea.” Smith, supra, 84 F.3d at 1218. “The extrinsic test is generally a question of law
14   because it turns not on the responses of the trier of fact but on specific criteria which
15   can be listed and analyzed.” North Coast Industries v. Maxwell, supra, 972 F.2d at
16   1034.
17           Although the intrinsic test relies on evaluating the total “look and feel”, courts
18   can grant summary judgment where no reasonable jury could decide otherwise under
19   the intrinsic test. Berkic v. Crichton, 761 F.2d 1289 (9th Cir. 1985); Litchfield v.
20   Spielberg, 736 F.2d 1352 (9th Cir.1984).
21           Given the Defendant’s level of exact copying, the extrinsic and intrinsic tests
22   are easily satisfied.
23           With respect to the ‘extrinsic’ test, certainly, Plaintiff’s Subject Photograph and
24   the copies on artwork share “objective” similarity of ideas and expression as they are
25   virtually identical.
26           The “‘intrinsic test’ asks whether an ‘ordinary, reasonable observer’ would find
27   a substantial similarity of expression of the shared idea.” Smith, supra, 84 F.3d at
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 1   1218. Again, given that the works are virtually identical, no reasonable observer deny
 2   that the works are substantially similar.
 3         It is anticipated that Defendant will point to the fact that they made additions to
 4   Plaintiff’s work, such as splashing paint on it, and therefore the works are “different.”
 5   However, it is well settled that any comparison of areas where the works might differ
 6   is irrelevant, since “no plagiarist can excuse the wrong by showing how much of his
 7   work he did not pirate.” Sheldon v. Metro-Goldwyn Pictures Corp., 81 F.2d 49, 56
 8   (2d Cir. 1936) cert. denied, 298 U.S. 669, 56 S. Ct. 835, 80 L. Ed. 1392 (1936).
 9   Rather, under Copyright law, the analysis must focus upon the similarities and the
10   copying of protected elements. Insofar as Defendants’ work incorporates Plaintiff’s
11   photograph, or a stencil based thereupon, there can be no question that Plaintiff’s and
12   Defendants’ works are substantially similar.
13

14         2. Defendants Works Virtually Duplicate The Subject Photograph
15         Moreover, because this is a case of admitted direct copying, the Court can grant
16   Summary Judgment even without conducting the substantial similarity analysis.
17         Specifically, a finding that a defendant copied a plaintiff’s work, without
18   application of a substantial similarity analysis, can be made where the defendant has
19   engaged in direct copying of a plaintiff’s entire work. Range Road Music, supra, 668
20   F.3d at 1154; Narell v. Freeman, 872 F.2d 907, 910 (9th Cir. 1989). Specifically, the
21   Ninth Circuit held in Range Road Music:
22

23         A showing of “substantial similarity” is irrelevant in a case like this one, in
           which the Music Companies produced evidence that the public performances
24         entailed direct copying of copyrighted works.
25

26   Range Road Music, supra, 668 F.3d at 1154. (noting that a demonstration of
27   substantial similarity is only necessary to prove infringement “[a]bsent evidence of
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 1   direct copying”); see also Narell v. Freeman, supra, 872 F.2d at 910 (noting that “[a]
 2   finding that a defendant copied a plaintiff’s work, without application of a substantial
 3   similarity analysis” will be made “when the defendant has engaged in virtual
 4   duplication of a plaintiff’s entire work”); 2 Howard B. Abrams, THE LAW              OF

 5   COPYRIGHT § 14:10 (2011) (“Direct proof [of copying] can consist of . . . testimony of
 6   direct observation of the infringing act . . . .”).
 7          As shown above, the copies on Guetta’s artwork show, and Guetta admits to,
 8   direct copying of the Subject Photograph. As such, summary judgment can be granted
 9   based on evidence of direct copying. Friedman v. Guetta, supra, 2011 U.S. Dist.
10   LEXIS 66532.
11

12                 2.     Defendants Violated Plaintiff’s Exclusive Rights
13          The owner of a copyright in a photograph has the exclusive right to authorize
14   its: (i) reproduction; (ii) adaptation (i.e., create derivative works); (iii) public
15   distribution; and (iv) public display. 17 U.S.C. § 106. “Copying” is shorthand for
16   infringing any of these rights. S.O.S., Inc. v. Payday, Inc., supra, 886 F.2d at 1085,
17   fn. 3. Here, Defendant violated Plaintiff’s exclusive rights by, without authorization,
18   reproducing, adapting, publicly distributing and publicly displaying works bearing
19   copies of Plaintiff’s Subject Photograph, including as follows:
20          “Sid Vicious Multi-Color” in Pastels: Defendants’ creation of this work
21   violated Plaintiff’s reproduction and adaptation rights. See Exhibit 4, Defendants
22   Responses to Interrogatories, Set One, Interrogatory No. 1. Moreover, this work was
23   offered for sale and sold. See Exhibit 4, Defendants Responses to Interrogatories, Set
24   One, Interrogatory No. 2. This violated Plaintiff’s distribution right.
25          “Sid Vicious Multi-Color” in Primary Colors: Defendants’ creation of this
26   work violated Plaintiff’s reproduction and adaptation rights.             See Exhibit 4,
27   Defendants Responses to Interrogatories, Set One, Interrogatory No. 1. Moreover,
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 1   this work was offered for sale and sold. See Exhibit 4, Defendants Responses to
 2   Interrogatories, Set One, Interrogatory No. 2. This violated Plaintiff’s distribution
 3   right.
 4            “Sid Vicious Fabric”: Defendants’ creation of this work violated Plaintiff’s
 5   reproduction and adaptation rights. See Exhibit 4, Defendants Responses to
 6   Interrogatories, Set One, Interrogatory No. 1. Moreover, this work was offered for
 7   sale and sold. See Exhibit 4, Defendants Responses to Interrogatories, Set One,
 8   Interrogatory No. 2. This violated Plaintiff’s distribution right.
 9            “Sid Vicious Palm Trees”: Defendants’ creation of this work violated
10   Plaintiff’s reproduction and adaptation rights. See Exhibit 4, Defendants Responses to
11   Interrogatories, Set One, Interrogatory No. 1.
12            “Sid Vicious” Print: Defendants’ creation of this work violated Plaintiff’s
13   reproduction and adaptation rights. See Exhibit 4, Defendants Responses to
14   Interrogatories, Set One, Interrogatory No. 1. Moreover, this work was offered for
15   sale and sold. See Exhibit 4, Defendants Responses to Interrogatories, Set One,
16   Interrogatory No. 2. This violated Plaintiff’s distribution right.
17            “Sid Vicious Broken Records Work”: Defendants’ creation of this work
18   violated Plaintiff’s reproduction and adaptation rights. See Declaration of Defendant
19   Thierry Guetta, Docket No. 47-2, ¶3. Moreover, this work was displayed Defendant’s
20   New York show. See Exhibit 5. This violated Plaintiff’s public display rights.
21            Mural: Defendants’ creation of this public work violated Plaintiff’s
22   reproduction, adaptation and public display rights. Decl. Linde, ¶ 7.
23            Each of these uses is an infringing use.
24

25                  3.     Plaintiff Has Not Authorized Defendants’ Conduct
26            Direct copyright infringement is a strict liability tort. Lack of knowledge does
27   not limit liability but only effects the calculation of damages.        Richter v. Instar
                             PLAINTIFF’S MOTION FOR SUMMARY ADJUDICATION
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 1   Enterprises International, Inc., 594 F. Supp. 2d 1000, 1011 (N.D. Ill. 2009).
 2   “[B]ecause copyright law favors the rights of the copyright holder, the person
 3   claiming authority to copy or vend generally must show that his authority to do so
 4   flows from the copyright holder.” American International Pictures, Inc. v. Foreman,
 5   576 F.2d 661, 664 (5th Cir. 1978). To survive a motion for summary judgment, a
 6   defendant has “the burden of tracing the chain of title to show that [its] authority …
 7   flows from the copyright holder.”      Microsoft Corp. v. Harmony Computers &
 8   Electronics, Inc., 846 F. Supp. 208, 212 (E.D.N.Y. 1994). Defendant cannot meet this
 9   burden because it has no such authority.
10         In this case, Plaintiff did not authorize Defendants to utilize his Subject
11   Photograph. See Declaration of Dennis Morris ¶ 4. (Undisputed Fact No. 2)
12

13   IV.   CONCLUSION
14         There is no reasonable dispute about the foregoing material facts. As such,
15   Plaintiff respectfully requests summary adjudication as to these issues of copyright
16   infringement.
17

18   Dated: September 24, 2012             THE LINDE LAW FIRM
19                                         By: /s/ Douglas A. Linde
20                                         Douglas A. Linde
                                           Erica L. Allen
21                                         Attorneys for Plaintiff Dennis Morris
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